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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                              CASE NO: 21-80860-CV-MIDDLEBROOKS

   WENDY FINKELSTEIN,

             Plaintiff,
   V.

   LQV WEST PALM BEACH, LLC, et al.,

             Defendants.
   - - - - - - - - - - - - - - - - - -I
                                 ORDER ON MOTION TO DISMISS

             THIS CAUSE comes before the Court upon Defendants' Motion to Dismiss Plaintiffs

   Complaint, filed on May 21, 2021. (DE 4). Plaintiff responded on June 3, 2021 (DE 8), and

   Defendants replied (DE 12). For the following reasons, Defendants' Motion to Dismiss is granted.

        I.       BACKGROUND

             This action arises from Plaintiffs two-year employment with Defendants as a physician's

   assistant. (DE 1-1 at   ,r 15). Plaintiff alleges that during the course of her employment she was
   discriminated against because of her religion and gender, and on the basis of that discrimination

   she has sued her corporate employer, LQV West Palm Beach, LLC, (the "Corporate Defendant")

   and the CEO of her employer, Sam Tej~da (the "Individual Defendant") under the Florida Civil

   Rights Act (the "FCRA"), Title VII of the Civil Rights Act of 1964, and 42 U.S.C. § 1981. (Id. at

   ,r 7). More specifically, Plaintiff asserts eight claims against Defendants: religious discrimination
   in violation of the FCRA ("Count I"); gender discrimination in violation of the FCRA ("Count

   II"); sexual harassment in violation of the FCRA ("Count III"); retaliation in violation of the FCRA

   ("Count IV"); religious discrimination in violation of Title VII ("Count V:'); gender discrimination

   in violation of Title VII ("Count VI"); religious discrimination in violation of 42 U.S.C. § 1981
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   ("Count VII"); and gender discrimination in violation of 42 U.S.C. § 1981 ("Count VIII"). (DE 1-

   1 at ,r,r 42-126).

           As the basis for her religious discrimination claims, Plaintiff asserts that her supervisor,

   Dr. Willix, was hostile to Plaintiff and other Jewish employees by "often speaking about them in

   derogatory terms by making anti-Semitic comments when outside of their presence." (Id at ,r 19).

   According to Plaintiff, she was told by other staff "not to let Dr. Willix know she was Jewish for

   fear of retaliation and disparate treatment." (Id at   ,r 20). Plaintiff further asserts that, after the
   Individual Defendant informed Dr. Willix about her complaints, Dr. Willix "told Plaintiff that

   'he knows more about the Jewish religion than her or anyone' and that he had the right to freely

   say what he wants." (Id at ,r 24).

           As the basis for her gender discrimination claims, Plaintiff asserts that she was harassed by

   Eric Leander, an independent contractor of the Corporate Defendant and a friend of the Individual

   Defendant. (Id at ,r 30). Specifically, Plaintiff alleges that "while administering treatment on his

   shoulder, Mr. Leander took Plaintiff's arm and placed it directly on his penis and told her 'she

   needed to have more fun.'" (Id. at ,r 33).

           Relevant to both of her categories of claims, Plaintiff :further asserts that "[t]hroughout her

   employment with [the Corporate Defendant], Plaintiff was singled out time and time again, was

   never given raises, nor bonuses after her reviews and was overworked, double booked, and treated

   differently than other non-Jewish and male employees." (Id at ,r 5).

           Defendants now move to dismiss Plaintiff's Complaint for four reasons, attacking both the

   form and substance of the Complaint. (See DE 4). Defendants first assert that Plaintiff's Complaint

   is an impermissible shotgun pleading and that they are unable to discern which of Plaintiff's claims

   are against the Corporate Defendant and which are against the Individual Defendant. (Id. at 6-8).



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   Defendants next assert that Plaintiff has not stated a claim under the Fair Labor Standards Act

   ("FLSA") because she has not alleged FLSA coverage or operational control. (Id at 9-14). Third,

   Defendants urge that Plaintiffs § 1981 claims must be dismissed because § 1981 does not cover

   claims for discrimination on the basis of gender or religion. (Id at 14). Finally, Defendants argue

   that Plaintiff cannot pursue her discrimination claims against the Individual Defendant, and that,

   although it is not clear from Plaintiffs Complaint which claims she is bringing against the

   Individual Defendant, I should "immediately foreclose this improper avenue." (Id. at 15). For the

   reasons explained below, Defendants' Motion to Dismiss is granted.

      II.      LEGAL STANDARD

            A motion to dismiss under Rule 12(b)(6) challenges the legal sufficiency of the allegations

   in a complaint. See Fed. R. Civ. P. 12(b)(6). In assessing legal sufficiency, courts are bound to

   apply the pleading standard articulated in Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) ..

   and Ashcroft v. Iqbal, 556 U.S. 662 (2009). That is, "a complaint must ... contain sufficient factual

   matter, accepted as true, to 'state a claim to relief that is plausible on its face."' Am. Dental Ass'n

   v. Cigna Corp., 605 F.3d 1283, 1289 (11th Cir. 2010) (quoting Twombly, 550 U.S. at 570).

   "Dismissal is therefore permitted 'when on the basis of a dispositive issue of law, no construction

   of the factual allegations will support the cause of action."' Glover v. Liggett Grp., Inc., 459 F.3d

   1304, 1308 (11th Cir. 2006) (citation omitted).

            When reviewing a motion to dismiss, a court must construe the complaint in the light most

   favorable to the plaintiff and accept as true all of the plaintiffs factual allegations. See Christopher

   v. Harbury, 536 U.S. 403,406 (2002); Erickson v. Pardus, 551 U.S. 89, 93-94 (2007). However,

   pleadings that "are no more than conclusions, are not entitled to the assumption of truth. While

   legal conclusions can provide the framework of a complaint, they must be supported by factual



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   allegations." Iqbal, 556,U.S. at 679. "[A] formulaic recitation of the elements of a cause of action

   will not do[.]" Twombly, 550 U.S. at 555 (citation omitted). "Factual allegations must be enough

   to raise [the plaintiffs] right to relief above the speculative level[.]" Id. (citation omitted).

       III.      DISCUSSION

              Defendants make four arguments in support of their Motion to Dismiss Plaintiffs

   Complaint. Each argument is addressed in turn below.

                 1. Improper Shotgun Pleading

              Defendants first argue that Plaintiffs Complaint is a shotgun pleading because "Plaintiff

   failed to properly delineate which Defendant is allegedly in violation of any Federal or Florida·

   law." (DE 4 at 6). That is, "the Complaint asserts multiple claims against multiple Defendants

   without specifying which of the defendants are responsible for which acts or omissions, or which

   of the defendants the claim is brought against." (Id. at 8). Plaintiff does not respond to this

   argument other than with the vague assertion that her Complaint "put Defendants on sufficient ·

   notice." (DE 8 at 2).

              Plaintiffs Complaint is indeed a shotgun pleading because it does not provide Defendants

   with notice of which claims are being brought against each of them. See Magluta v. Samples, 256

   F.3d 1282, 1284 (11th Cir. 2001) ("The Complaint is replete with allegations that 'the defendants'

   engaged in certain conduct, making no distinction among the ... defendants charged"); Weiland

   v. Palm Beach County Sheriff's Office, 792 F.3d 1313, 1321 (11th Cir. 2015) (explaining that.·

   pleadings that "assert[] multiple claims against multiple defendants without specifying which of

   the defendants are responsible for which acts or omissions, or which of the defendants the claim

   is brought against" are shotgun pleadings). In Count I, Plaintiff asserts that "Defendant retained

   all employees who exhibited discriminatory conduct toward the Plaintiff and did so despite the



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   knowledge of said employees engaging in discriminatory actions," but Plaintiff does not state if

   she is referring to the Corporate Defendant or the Individual Defendant. (DE 1-1 at              ,r 48).   The

   same is true later in Count I when Plaintiff asserts that "Defendant's failure to make prompt

   remedial action to prevent continued discrimination against the Plaintiff' violated state and federal

   law but fails to indicate whether the Corporate Defendant, the Individual Defendant, or both should

   have taken remedial action. (Id. at    ,r   50). And in Count II, Plaintiff states in one line that

   "Defendants have engaged in discrimination against Plaintiff," and in another that "[t]he conduct

   of Defendant ... deprived the Plaintiff of statutory rights under federal law," making it unclear

   whether Plaintiff intended to assert this claim against one or both Defendants, and, if against only

   one Defendant, which one. (Compare DE 1-1 at           ,r 55 with DE   1-1 at   ,r 61).   The remaining six

   claims in Plaintiff's Complaint similarly fail to specify the target of each claim.

          Because Plaintiff's Complaint does not provide Defendants with notice of the claims

   against each of them, I will dismiss Plaintiff's Complaint without prejudice and with leave to file

   an Amended Complaint that clearly delineates ( 1) which Defendant is being charged in each count

   and (2) what conduct Plaintiff attributes to each Defendant. Although I am dismissing Plaintiff's

   Complaint on this ground, it is still necessary for me to consider Defendants' remaining arguments

   as they bear on additional deficiencies with Plaintiff's Complaint that must be cured in any

   Amended Complaint she might file.

              2. Insufficient Allegations to Support an FLSA Action

          Defendants next seek to dismiss Plaintiff's Complaint on the ground that it does not include

   the allegations necessary to support an FLSA claim. (DE 4 at 9-14). Plaintiff does not address

   these arguments in her Response. (See DE 8). It is true that in the "General Allegations" section

   of her Complaint Plaintiff states that she is bringing her lawsuit pursuant to "the Fair Labor



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   Standards Act, 29 U.S.C. §§ 201-219." (DE 1-1 at~ 7). However, in Plaintiffs numbered counts,

   Plaintiff does not make any claims under the FLSA. (See DE 1-1 at~~ 42-126). Counts I, II, III,

   and IV arise under the FCRA; Counts V and VI under Title VII; and Counts VII and VIII under

   42 U.S.C. § 1981. (See id.). As such, it does not appear that Plaintiff is actually trying to pursue

   any FLSA claim. Because Plaintiff has not raised any FLSA claim in her Complaint and does not

   address Defendants' arguments that she has failed to properly plead an FLSA cause of action in

   her Response, it appears that Plaintiff has abandoned this avenue for relief. As a result, I need not

   consider Defendants' argument that Plaintiff has failed to state a claim under the FLSA.

              3. Improper § 1981 Claims

          Defendants move to dismiss Plaintiffs § 1981 claims because it "is well-established that

   discrimination alleged on protected classes other than race cannot be filed pursuant to § 1981."

   (DE 4 at 14). Plaintiff does not directly respond to Defendants' argument; rather, she asserts that

   "[she] is Jewish and as such is a member of a protected class under the FCRA, Title VII and 42

   U.S.C. § 1981" and that "being a woman is a member of an additional protected class and it is

   important that our justice system protects women to ensure equal rights and opportunities in the

   workplace and professional environment." (DE 8 at 2).

          "Section 1981 prohibits intentional race discrimination in the marking and enforcement of

   public and private contracts, including employment contracts." Ferrill v. Parker Group, Inc., 168

   F.3d 468, 472 (11th Cir. 1999). Defendant is correct that it does not apply to claims for

   discrimination based on religion, gender, or national origin. See Olivares v. Martin, 555 F .2d 1192,

   1196 (explaining that to state a cause of action for discrimination under § 1981 a plaintiff must

   allege discrimination on the basis of race); Tippie v. Space/abs Medical, Inc., 180 Fed. App'x 51,

   56 (11th Cir. 2006) ("By its very terms, § 1981 applies to clams of discrimination based on race,



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       not national origin."). Because Plaintiff's § 1981 claims do not assert that she was discriminated

       against on the basis of her race-Count VII alleges "religious discrimination" and Count VIII

       alleges "gender discrimination"-those claims are dismissed.

          IV.         Individual Defendant Sam Tejada

                Finally, Defendants move to dismiss Plaintiff's claims against the Individual Defendant on

       the ground that there is no individual responsibility under Title VII or the FCRA. (DE 4 at 16). As

       explained above, however, Plaintiff has not indicated which of her claims are against the Corporate

       Defendant and which of her claims are against the Individual Defendant. As such, I am unable to

       discern whether Plaintiff is attempting to bring any Title VII or FCRA claims against the Individual

       Defendant, as Defendant properly points out would be impermissible. See Hinson v. Clinch County

       Bd. Of Educ., 231 F .3d 821, 827 (11th Cir. 2000) ("The relief granted under Title VII is against

       the employer, not [against] individual employees whose actions would constitute a violation of the

       Act."); see also Busby v. City ofOrlando, 931 F.2d 764, 772 (11th Cir. 1991) ("Individual capacity

       suits under Title VII are ... inappropriate."). I expect Plaintiff to comply with this precedent in

       any Amended Complaint she might file.

           V.         CONCLUSION

                Based upon the foregoing, it is ORDERED AND ADJUDGED that:

                (1)    Defendants' Motion to Dismiss Plaintiff's Complaint (DE 4) is GRANTED.

                (2)    Plaintiff's Complaint is DISMISSED WITHOUT PREJUDICE.

                (3)    If Plaintiff intends to file an Amended Complaint to attempt to cure the deficiencies

                       set forth in this Order, she must do so on or before November 12, 2021. Plaintiff is

                       advised that any Amended Complaint shall not add any new defendants or claims, as




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               Plaintiff has not sought, and I have not granted, authorization to expand the scope of

               these proceedings.

         (4)   Failure to timely file an Amended Complaint may result in dismissal of this case

               without prejudice.

         SIGNED in Chambers at West Palm Beach, Florida,




                                                           ALD M. MIDDLEBROOKS
                                                       UNITED STATES DISTRICT JUDGE
   cc:   Counsel of Record




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